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 5
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 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,            STIPULATION AND ORDER
                                                        REGARDING CONTINUANCE
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17                                             STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by

19 and through his counsel of record, hereby stipulate as follows:
20          1.     By previous order, this matter was set for sentencing on Monday, December 5, 2016,

21 at 10:00 a.m.

22          2.     By this stipulation, the parties now move to continue the matter to Monday, February

23 27, 2017, at 10:00 a.m.

24          3.     The parties further stipulate to the following schedule:

25          Informal Objections Due:                                     January 30, 2017

26          Final PSR Filed with the Court:                              February 6, 2017

27          Formal Objections to PSR/Sentencing Memo due:                February 13, 2017

28          Responses to Formal Objections/Reply to Sentencing Memo:           February 21, 2017
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          Case 1:15-cr-00286-ADA-BAM Document 149 Filed 10/13/16 Page 2 of 2



 1            IT IS SO STIPULATED.

 2 DATED:          October 13, 2016   Respectfully submitted,
 3                                    PHILLIP A. TALBERT
                                      Acting United States Attorney
 4

 5                                    /s/ Karen A. Escobar
                                      KAREN A. ESCOBAR
 6                                    Assistant United States Attorney
 7

 8 DATED:          October 13, 2016
 9                                    /s/ Edward Robinson
                                      EDWARD ROBINSON
10                                    Counsel for Defendant
                                      Zaid Elodat
11

12
                                             ORDER
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14 IT IS SO ORDERED.

15
     Dated:     October 13, 2016
16                                               UNITED STATES DISTRICT JUDGE

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